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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

  Case: 2:24-cv-01068-MEMF-ASx                             Date: July 5, 2024

 Title: Tristan Walker v. Hartford Life and Accident Insurance Company.

 PRESENT: The Honorable Maame Ewusi-Mensah Frimpong, Judge
               Damon Berry                                  Not Present
              Courtroom Clerk                              Court Reporter

      ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
            PLAINTIFF:                                 DEFENDANT:
           None Present                                 None Present



 PROCEEDINGS (IN CHAMBERS)

        On June 28, 2024, the parties filed a Notice of Settlement [ECF No. 17]. The
 Court, having considered the Notice of Settlement and finding good cause
 therefore, hereby ORDERS that the action is STAYED and administratively closed
 until thirty (30) days from the date of this Order. The parties are ORDERED to
 file, within thirty (30) days of this Order, either (1) a stipulation and proposed
 order for dismissal of the action or judgment, or (2) a motion to reopen if
 settlement has not been consummated. Upon the failure to timely comply with this
 Order, this action shall be deemed dismissed as of sixty-one (31) days from the
 date of this Order.

       This Court retains full jurisdiction over this action and this Order shall not
 prejudice any party to this action. All pretrial and trial dates are hereby
 VACATED.



  MINUTES FORM 11
  CIVIL-GEN                                                       Initials of Clerk: DBE
